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                                                                                 2021 Jul-28 PM 04:52
                                                                                U.S. DISTRICT COURT
                    IN THE UNITED STATES DISTRICT COURT                             N.D. OF ALABAMA

                  FOR THE NORTHERN DISTRICT OF ALABAMA
                             SOUTHERN DIVISION

KIMBERLEY COSHATT,                    )
                                      )
                   Plaintiff,         )
                                      )
vs.                                   )      Case No. 2:21-cv-863-GMB
                                      )
UNITED OF OMAHA LIFE                  )
INSURANCE COMPANY,                    )
                                      )
                   Defendant.         )


                                          ORDER

      On July 22, 2021, the defendant filed an answer in the above-styled cause

originally assigned to the undersigned magistrate judge. Pursuant to the General Order

For Referral of Civil Matters to the United States Magistrate Judges of the Northern

District of Alabama, dated January 2, 2015, the parties are REQUIRED to enter an

election regarding the exercise of dispositive jurisdiction by the magistrate judge

pursuant to 28 U.S.C. § 636(c) no later than September 5, 2021. In the absence of

consent by all parties, the Clerk is hereby DIRECTED to reassign the case to a randomly

drawn district judge without further order after September 5, 2021.

      A telephone status conference with the magistrate judge is hereby SET for 10:00

AM on Wednesday, August 25, 2021. The parties are directed to call 866-390-1828

access code 9262283 at designated time. The conference will be cancelled if all

forms are submitted twenty-four hours in advance.
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       The parties are directed to use the magistrate judge consent form on the

CM/ECF system to elect or decline the exercise of magistrate judge jurisdiction.

Unlike in the past, a party can now complete the consent form electronically and submit

it through the Court’s CM/ECF filing system at the following web address:

https://ecf.alnd.uscourts.gov.   If a party submits the form electronically, the form will be

delivered directly to the Clerk. It will not be filed on the docket sheet, and no judge will

have access to the form. Alternatively, a party may print the form, complete it manually,

and submit it to the Clerk’s office.

       You may decline magistrate judge jurisdiction without adverse consequences. The

identity of any party who consents to or declines magistrate judge jurisdiction will remain

unknown to the undersigned unless consent is unanimous. The undersigned will only

learn of a party’s election to consent where all parties have consented. In the event fewer

than all of the parties elect to consent, the Clerk will not inform the undersigned of the

identity of the non-consenting party/parties. If all parties consent, a magistrate judge will

exercise full and final dispositive jurisdiction, and all appeals will lie directly with the

appropriate United States Court of Appeals.

       DONE and ORDERED on July 28, 2021.


                                         _________________________________
                                         GRAY M. BORDEN
                                         UNITED STATES MAGISTRATE JUDGE
